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AO 91 (Rev. 5/85) Criminal Complaint




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                                                     Southern DISTRICT OF Ohio

                  UNITED STATES OF AMERICA
                                       V.
                              IMRAN CHEEMA
                                                                                CRIMINAL COMPLAINT
                                                                             CASE         NUMBER:~·. 1J. . . ~ -- $( :3

                       (Name and Address of Defendant)




       I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about ______________July 12, 2012                                                    in Franklin
county, in the Southern                                                          District of Ohio                defendants(s)
did,   (Track Statutory Language of Offense)

as an employee of a Federal Reserve Bank embezzles, abstracts, purloins or willfully misapplies any of the
moneys, funds or credits of such bank, branch, agency, or organization or holding company or any moneys,
funds or credits of such bank, branch, agency , or organization or holding company or any moneys, funds,
assets or securities intrusted to the custody or care of such bank, branch, agency or organization
or holding company or to the custody or care of any such agent, officer, director, employee or receiver.



in violation of Title_l_so....-_ _ _ _ _ _ _ United States Code, Section(s ....
                                                                           ) -".6.:;;.56.::..-_ _ _ _ _ _ _ _ _ _ _ _ __
I further state that I am a(n) Special Agent                           and that this complaint is based on the following
facts:                        --~----~O~ff~ic~ia~l~n~~I~e-------------
See Affidavit




Continued on the attached sheet and made a part hereof:                     [gJ Yes          DNo


                                                                              ~Dean                      ..
                                                                                SfgnaureOfCOmPlainttnt
Sworn to before me and subscribed in my presence,

July 30, 2012                                                          at       Columbus, OH
Date                                                                            City of State
                                                                                      i
Norah M. King
                                                                                 1----"',
                                                                                               /1    }
Name and Title of Judicial Officer
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ATTACHMENT TO CRIMINAL COMPLAINT AGAINST IMRAN CHEEMA


I Douglas J. Dean, having been first duly sworn, hereby state under oath the following:

I am a United States Secret Service Special Agent and have been so employed for the
past Twelve (12) years. I am currently assigned to the Columbus, OH Resident Office of
the U.S. Secret Service. My responsibilities include financial crimes investigations, bank
fraud, counterfeit and other violations with a nexus to the U.S. Secret Service.

On or about June 2012, Cheema advised Chase branch management of his resignation.
Cheema advised he was going back home to Pakistan for a few months and then
relocating to New York with his fiance.

From on or about July 19,2012, Global Security and Investigations (GS&I) were notified
by District Manager (DM) witness 1 (AH) of a branch shortage in the amount of
$10,000.00 just discovered at the Northern Lights branch located at 3233 Cleveland Ave
Columbus, Ohio 43224. According to the information received, witness 1 believes former
employee Imran Cheema who was a teller at that location may be involved. Witness 1
advised Cheema's last day with Chase was on July 13,2012 and at that time everything
with his teller drawer seemed to check out. However, on July 19,2012 as part of the
normal audit process the Assistant Branch Manager (ABM) performed a surprise audit on
the TCD (Teller Cash Dispenser) and discovered it was $10,000.00 short.

On or about July 19, 2012, a review of the teller journal showed on or about July 12,
2012, Cheema performed a "sell cash" to the TCD in the amount of $8,000.00 at
approximately 9:04 am and then did a "buy cash" in that same amount at approximately
9:05 am. On or about July 13,2012, Cheema performed a "buy cash" in the amount of
$2,000.00 from the TCD at approximately 10: 16 am and a "sell cash" in that same
amount at approximately 10:18 am. The "buys and sells" of the cash would allow
Cheema's teller drawer to balance; however, because sells were made to the TCD it
would leave it short because Cheema would have not had any way to deposit the funds
into the TCD. GS&I reviewed bank surveillance footage for July 12, 2012 and July 13,
2012 and on both days did see Cheema at the TCD machine at the time of the "buys and
sells" were processed. As a precaution on July 19,2012 the branch performed a full audit
of the branch to see if the funds could be located and they were unsuccessful and still
short $10,000.00.

On or about July 25,2012, Detective (Det.) Reed, Franklin County Sheriffs Office
received a telephone call from Imran Cheema. Det. Reed advised Cheema that he needed
to speak with him about an incident involving his former employer, Chase. Cheema
advised Det. Reed that he was in Pakistan and would not be returning until September 20,
2012. Cheema immediately asked if there was a warrant for his arrest.
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Continuing on or about July 25,2012, Det. Reed contacted witness 2 (TR) who advised
Cheema's last transaction was on July 24,2012 at approximately 22:48 hours in New
York.

Based on the facts presented above, I believe there is probable cause to show that Imran
Cheema did as an employee of a Federal Reserve Bank embezzles, abstracts, purloins or
willfully misapplies any ofthe moneys, funds or credits of such bank, branch, agency, or
organization or holding company or any moneys, funds or credits of such bank, branch,
agency, or organization or holding company or any moneys, funds, assets or securities
intrusted to the custody or care of such bank, branch, agency or organization or holding
company or to the custody or care of any such agent, officer, director, employee or
receiver in violation of Title 18, United States Code, Section 656.




                                                                il
                                                                 ..-J

Sworn to before me and subscribed in my presence this _ _30_ _ day of July, 2012.




                                          r
                                      /
                                  i

                                              Norah M. King

                             /                U.S. Magistrate Judge
